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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION

  UNITED STATES OF AMERICA                        *   CRIMINAL NO. 6:17-CR-00035


  VERSUS                                          *   JUDGE WALTER


  LUKE BALL (02)                                  *   MAG. JUDGE WHITEHURST

                REPORT AND RECOMMENDATION ON
 FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

        Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration

 of Guilty Plea and Allocution under Rule 11 of the Federal Rules of Criminal Procedure.

        This cause came before the undersigned U. S. Magistrate Judge for a change of plea

 hearing and allocution of the defendant on May 22, 2017. Defendant was present with his

 counsel, Marci Blaize.

        After said hearing, and for reasons orally assigned, it is the finding of the undersigned

 that the defendant is fully competent, that his guilty plea to Count 1 of the Indictment is

 knowing and voluntary, and that his guilty plea is fully supported by a written factual basis for

 each of the essential elements of the offense.

        Therefore the undersigned U.S. Magistrate Judge recommends that the District Court

 ACCEPT the guilty plea of the defendant, Luke Ball, in accordance with the terms of the plea

 agreement filed in the record of these proceedings, and that Luke Ball be finally adjudged guilty

 of the offense charged in Count 1 of the Indictment.
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       The defendant has waived his right to file an objection to the Report and

 Recommendation.

       THUS DONE AND SIGNED in chambers at Lafayette, Louisiana this

 21st day of June, 2017.
